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UNITED STATES DISTRICT COURT
S()UTHERN DISTRICT OF NEW YORK

 

 

i:TnAN MURPHY` er a/., ""H
Piaimirrs,
_v_ NO. ls-cv_czsos (RJS)
oRDER AooPriNo REPORT AND
RECOMMENDATION

PHILIPPE I,AJAUNIE, et a[.,

Defendants.

 

 

RlCl-IARD .l. SULLIVAN. Circuit Judge:

On August 16, 2016, the Court entered a defaultjudgment against Defendants and referred
this case to the Honorable Sarah Netburn, Magistrate Judge, for an inquest on damages (Doc. No.
260.) Now before the Court is Judge Netburn’s Report and Recommendation recommending that
the Court award Plaintiffs damages of$3,988,512.70, plus prejudgment interest with respect to the
compensatory damages award under the New York l,.abor Law (the “NYLL”), and attorneys’ fees
ot` $666,332.50 and costs of $20,378.09. (Doc. No. 325 (the “Report and Recornrnendation”).)
For the reasons set forth below, the Cotcrt adopts the Report and Recommendation its enlirety.

1. BACKGROUND

Plaintifi`s are former servers, bussers, and bartenders who worked at Brasserie Les Halles,
a l"rench Restaurant owned and operated by Defendants, during the period between 2006 and 2014.
(See, e.g._ Doc. No. 296-1 111| 3, 6.) As relevant here, the Court ordered Defendants on April 15,
2016 to produce certain discovery materials to Plaintiffs no later than June 16, 2016. (Doc. No.
219.) llowever, at a .lune 21, 2016 conference, Defendants admitted that they had failed to comply
with the Court’s April 15, 2016 Order. (Doc. No. 228 at 5:12-6:15.) Accordingly. the Court

ordered Defendants to comply with the April 15. 2016 Order within one week; the Court also

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warned Defendants that their continued noncompliance would result in the imposition of sanctions
pursuant to Federal Rules of Civil Procedure 16(f) and 37(b)(2) and/or the Court’s inherent
sanctioning power, including the possible grant ofa defaultjudgment in Plaintiffs’ favor. ([ct'. at
18:6-14, 19:17-20:2, 26:19-23, 27:15-24; Doc. No. 224.) Following repeated warnings, the
Court finally entered a defaultjudgment against Defendants on August 10, 2016. (Doc, No. 260.)
'l`hat same day, the Court referred this matter to Judge Netburn for an inquest on damages (Doc.
No. 261 .) Two days later, Defendant Philippe LaJaunie moved for reconsideration of the Court’s
./-\ugust 10, 2016 Order (Doc. No. 267), a motion which the Court denied on September 1, 2016
(Doc. No. 273).

On l"ebruary 2,- 2018, Judge Netburn submitted her Report and Recommendation. (Doc.
No. 325.) On February 5. 2018, in accordance with Judge Netburn"s directive (see id. at 20, 30),
Plaintiffs submitted additional time and payroll records to support Plaintift`Efrain Ramirez`s claim
l`or damagesl (Doc. No. 326.) That same day, Defendant Philippe Lalaunie filed his objections to
the Report and Recommendation, arguing that liquidated damages are inapplicable when a default
judgment is imposed as a sanction (Doc. No. 327.)

ll. lJEGAL STANDARD

'l`he district court “may accept, reject, or modify, in whole or in part, the findings or
recommendations made by the magistratejudge." 28 U.S.C. § 636(b)(1); see also Fed. R. Civ. P.
72(b)(3). “When no objections to a Report and Recommendation are made, the Court may adopt
the Report if there is no clear error on the face of the record.” Correale-Engleharr v. A.rirue, 687
l". Supp. 2d 396, 401 (S.D.N.Y. 2010); .s'ee also Fed. R. Civ. P. 72(b), Advisory Committee’s Notes
(1983) (“When no timely objection is filed, the court need only satisfy itself that there is
no clear error on the face of the record in order to accept the recommendation."); Br)rcsok v.

!;`arr’y. 299 Fed. Appx. 76, 77 (2d Cir. 2008). But ifa party “properly objects” to f that is, raises

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objections that are "`clearly aimed at particular findings in” - the magistrate judge’s report, the
district court reviews those findings de novo. Rodrz'guez v. Co!vi'n, No. l2-cv-3931 (RJS), 2014
WL 5038410, at *3 (S.D.N.Y. Sept. 29, 2014) (internal quotation marks omitted); see afso 28
U.S.C. § 636(b){1)(C). Where the objections are improper - because they are "conclusory[,]”
"‘general[,|"` or "simply rehash or reiterate the original briefs to the magistratejudge” - the district
court will review the magistrate’s findings only for clear error. Rodrr'guez, 2014 WL 5038410, at
*3. "Where, as here, the objecting party is proceeding pro se, the Court construes the objections
liberally.” Weorr`ng v. Lavofley, No. 10-cV-8307 (JPO), 2015 WL 6738327, at *l (S.D.N.Y. Nov.
4, 2015); see also DiPr`!c:Io v. 7-Efeven. IHC., 662 F. Supp. 2d 333, 340 (S.D.N.Y. 2009) (“The
objections of parties appearing pro se are generally accorded leniency and should be construed to
raise the strongest arguments that they suggest.”) (internal quotations omitted).
lll. DISCUSSION
A. Applicability of Liquidated Damages

ln his objections, Defendant La.launie argues that liquated damages should be inapplicable
where, as here, a defaultjudgment was imposed as a sanction (Doc. No. 327.) However, as noted
by Judgc Netburn, "[`t]he Supreme Court has ‘equated the sanction of default to a waiver by the
malcfaclor of`the opportunity to contest the factual or legal basis for the adverse ruling orjudgment
imposed as a sanction."’ (Doc. No. 325) (quoting Metro. ()pem A.s;s"n, Inc, v, Loco[ IOO. Ho!ef
l:`mpl'oyees & lte.i'f. Employee.r lnt'f Unl`on, No. 00-cv-36l3 (LAP), 2004 WL l943099, at *13
(S.D.N.Y. Aug. 27. 2004)); see also Hommono" Packr`ng Co. v. Slote ofArk., 212 U.S. 322, 351
(1909) (explaining that the sanction "exerted below [by the district court1 was like the authority to
default . . . because of a failure to answer, based upon a presumption that the material facts alleged
or pleaded were admitted by not answering . . . ."). Accordingly, because Plaintiffs have

sufficiently alleged that Defendants acted willfully in violating both the Fair liabor Standards Act

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(the "P`LSA”) and the NYLL (see Doc. No. 104), the Court finds that Judge Netburn properly
assessed liquidated damages See, e.g., Ai'vorez v. 215 N. Ave. Corp_, No. I3-cv-7049 (NSR)
(PED), 2015 WL 3855285, at *5 (S.D.N.Y. June 19, 2015) (“Plaintiff alleges that Defendant
committed FLSA violations willfully . . . which the Court accepts as true by virtue of Defendant’s
default[.]"); Rodriguez v. Gfobe first OfT€ch., No. l5-cv-l435 (RA) (SN), 2016 WL 5795127, at
*2 (S.D.N.Y. Aug. 10, 2016) (“A plaintiffs allegations of willful violation will be taken as true
by virtue ofa defendant’s default."’).

This is true even though Defendant LaJaunie vigorously argues that any violations ofthe
l"LS/\ and the NYLI, that he may have committed were in good faith. Again, De'fendant Lajaunie
foreclosed his ability to argue that he acted in good faith by repeatedly failing to comply with
numerous court orders (See, e.g., Doc. No. 260.) And “LaJaunie has not offered [any]
indisputably contradictory evidence that challenges the allegations that Defendants violated FLSA
and NYLL willfully and not in good faith.” (Doc. No. 325 at 8) (emphasis in original). Thus, as
\ludge Netburn stated, "`Defendants’ default is deemed to constitute a concession to Plaintiffs" well-
pleaded claims that the alleged l"LSA and NYLL violations were willful and not in good faith."
(See Doc. No. 325 2118-9.)

B. Damages Attorneys’ Fees, and Costs

Beeause Defendant La_launie only objects to Judge Netburn’s Report and Recommendation
insofar as she recommends that the Court award liquidated damages the Court reviews the
remainder of the Report and Recomrnendation for clear error. See, e.g., Correot'e-Englehori v.
A,s'iriie` 687 l". Supp. 2d 396, 401 (S.D.N.Y. 2010). After conducting a review of the record -
including Plaintiffs` liebruary 5, 2018 submission - the Court concludes that the remainder of
ludgc Netburn`s Report and Recommendation is reasonable and not clearly erroneous

Accordingly. the Court adopts the rest of the Report and Recommendation in its entirety.

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IV. CONCLUSION

For the foregoing reasons, and for the reasons set forth in Judge Netburn’s thorough and
well»written Report and Recommendation, IT IS HEREBY ORDERED THAT Plaintiffs are
entitled to a judgment against Defendants in the amount $4,675,223.29, consisting of
$3,988,512.70 in damages $666,332.50 in attorneys’ fees, and $20,378.09 in costs IT IS
i"URTHER ORDERED THAT Plaintiffs are entitled to prejudgment interest with respect to all
compensatory damages awarded pursuant to the NYLL. as set forth in .ludge Netburn’s Report and
Recommendation. (See Doc. No. 325 at 21-22.) IT IS FUR'I`I~IER ORDERED THAT damages
for Plaintiffs` § 196»d and spread-of-hours claims shall be allocated to class members according
to each restaurants tip pool system, while all other damages shall be allocated pursuant to the
damages spreadsheets provided by Plaintiffs. (See Doc. No. 296.) The Clerk of Court is
respectfully directed to enter ajudgment against De'fendants consistent with the foregoing, mail a
copy of this Order to Defendant LaJaunie, and close this case.

SO ORDERED.

 
  

Dated: February 15, 2019
New York, New York

  

HARD i. suLNivA
UNiTED sTATEs CIRCUIT JUDGE
Sitting by Designation

